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 7   Attorneys for Plaintiff

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 9
                     IN THE UNITED STATES DISTRICT COURT
10                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION
11

12
     ROTHSCHILD BROADCAST
13
     DISTRIBUTION SYSTEMS, LLC,
14
                 Plaintiff,
15                                         Case No. 3:22-cv-08297-VC
16         v.
                                           REQUEST TO REINSTATE CASE
17
     SAMSARA, INC.,
18
                 Defendant.
19

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21         Pursuant to this Court’s Order of Dismissal (Dkt. No. 17), Plaintiff Rothschild
22   Broadcast Distribution Systems, LLC respectfully requests reinstatement of this Case.
23         The Parties have not yet finalized and executed a settlement agreement, but
24   expect to do so within the next 21 days, at which time the Parties will submit a
25   Motion to Dismiss.
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                                  REQUEST TO REINSTATE CASE
        Case 3:22-cv-08297-VC Document 18 Filed 06/05/23 Page 2 of 3




 1   Dated: June 5, 2023                      Respectfully submitted,
 2

 3
                                              /s/ Randall Garteiser
                                              Randall Garteiser
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                                REQUEST TO REINSTATE CASE
         Case 3:22-cv-08297-VC Document 18 Filed 06/05/23 Page 3 of 3




 1
                               CERTIFICATE OF SERVICE

 2
           I hereby certify that on June 5, 2023, I electronically transmitted the foregoing
 3
     document using the CM/ECF system for filing, which will transmit the document
 4
     electronically to all registered participants as identified on the Notice of Electronic
 5
     Filing, and paper copies have been served on those indicated as non-registered
 6
     participants.
 7

 8
                                           /s/ Randall T. Garteiser
 9                                         Randall T. Garteiser
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                                   REQUEST TO REINSTATE CASE
